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     General Insolvency Counsel
11
     for Debtors and Debtors-in-Possession
12                               UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEVADA
13
      In re:
14                                                  Jointly Administered under
                                                    Case No. 18-50609-btb with
15          X-TREME BULLETS, INC.,
            AMMO LOAD WORLDWIDE, INC.,              Case Nos. 18-50610-btb; 18-50611-btb;
16          CLEARWATER BULLET, INC.,                18-50613-btb; 18-50614-btb; 18-50615-btb;
            FREEDOM MUNITIONS, LLC,                 18-50616-btb; and 18-50617-btb
17          HOWELL MACHINE, INC.,                   Adversary Proceeding No. 18-05010-btb
            HOWELL MUNITIONS &
18                                                  Chapter 11 Proceedings
            TECHNOLOGY, INC.,
19          LEWIS-CLARK AMMUNITION                  ANSWER TO COMPLAINT (1) TO
            COMPONENTS, LLC,                        DETERMINE NATURE, EXTENT AND
20          COMPONENTS EXCHANGE, LLC,               PROPRIETY OF INTERESTS IN
            and                                     PROPERTY AND (2) FOR DECLARATORY
21          All Debtors.                            RELIEF
                      Debtors and                   Status Conference:
22
                      Debtors-in-Possession.
                                                    DATE:       November 13, 2018
23                                                  TIME:       9:00 a.m.
      Z.B., N.A. dba ZIONS FIRST NATIONAL           PLACE:      Courtroom 2 (5th Floor)
24
      BANK,                                                     C. Clifton Young Federal Bldg.
25                  Plaintiff,                                  300 Booth Street
                                                                Reno, NV 89509
26    vs.

27    HOWELL MUNITIONS &
      TECHNOLOGY, INC. and
28    UNITED STATES OF AMERICA DEPT.


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     OF THE TREASURY
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                Defendants.
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 1           Howell Munitions & Technology, Inc. (“Defendant”) hereby submits the following Answer
 2   to that certain Complaint (1) to Determine Nature, Extent and Priority of Interest in Property and
 3   (2) for Declaratory Relief (“Complaint”) filed by Z.B., N.A. dba Zions First National Bank
 4   (“Plaintiff”).

 5                                     JURISDICTION AND VENUE
 6           1.       In response to paragraph 1 of the Complaint, the Defendant admits each and every
 7   allegation contained therein.
 8                                                 PARTIES
 9           2.       In response to paragraph 2 of the Complaint, upon information and belief, the
10   Defendant denies each and every allegation contained therein.
11           3.       In response to paragraph 3 of the Complaint, the Defendant admits each and every
12   allegation contained therein.
13           4.       In response to paragraph 4 of the Complaint, the Defendant admits each and every
14   allegation contained therein.
15                                       FACTUAL ALLEGATIONS
16           5.       In response to paragraph 5 of the Complaint, the Defendant denies all allegations in

17   paragraph 5 of the Complaint.
18           6.       In response to paragraph 6 of the Complaint, the Defendant admits that it and the
19   other “Borrowers” identified in footnote 1, with the exception of Components Exchange, LLC,
20   executed a Business Loan Agreement with the Plaintiff on May 22, 2014. The Defendant
21   specifically denies any assertion that Components Exchange, LLC was ever a Borrower under the
22   May 22, 2014 Business Loan Agreement or ever borrowed any funds from the Plaintiff. The

23   Defendant denies that any use of the term, “Borrower,” in the Complaint should include any
24   reference to Components Exchange, LLC.
25           7.       In response to paragraph 7 of the Complaint, the Defendant admits each and every
26   allegation contained therein.
27           8.       In response to paragraph 8 of the Complaint, the Defendant admits each and every
28   allegation contained therein.


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 1          9.      In response to paragraph 9 of the Complaint, the Defendant admits the allegation
 2   that a true and correct copy of the First Modification to Business Loan is attached as Exhibit 4 to
 3   the Complaint. The Defendant submits that the terms of the First Modification to Business Loan
 4   speak for themselves and, on that basis, except as expressly admitted to herein, denies the

 5   allegations set forth in paragraph 9 of the Complaint.
 6          10.     In response to paragraph 10 of the Complaint, the Defendant admits the allegation
 7   that a true and correct copy of the Second Loan Modification Agreement is attached as Exhibit 5 to
 8   the Complaint. The Defendant submits that the terms of the Second Loan Modification Agreement
 9   speak for themselves and, on that basis, except as expressly admitted to herein, denies the
10   allegations set forth in paragraph 10 of the Complaint.

11          11.     In response to paragraph 11a of the Complaint, the Defendant admits the allegations
12   that a true and correct copy of the Second Note 9001 is attached as Exhibit 6 to the Complaint, that
13   a true and correct copy of the First Amended and Restated Promissory Note (9001) is attached as
14   Exhibit 7 to the Complaint, that a true and correct copy of the Second Amended and Restated
15   Promissory Note (9001) is attached as Exhibit 8 to the Complaint, and that a true and correct copy
16   of the Third Amended and Restated Promissory Note is attached as Exhibit 9 to the Complaint.

17   The Defendant submits that the terms of the Second Note 9001, the First Amended and Restated
18   Promissory Note (9001), the Second Amended and Restated Promissory Note (9001), and the
19   Third Amended and Restated Promissory Note speak for themselves and, on that basis, except as
20   expressly admitted to herein, denies the allegations set forth in paragraph 11a of the Complaint.
21          12.     In response to paragraph 11b of the Complaint, the Defendant admits each and
22   every allegation contained therein.

23          13.     In response to paragraph 11c of the Complaint, the Defendant admits each and
24   every allegation contained therein.
25          14.     In response to paragraph 11d of the Complaint, the Defendant admits each and
26   every allegation contained therein.
27          15.     In response to paragraph 11e of the Complaint, the Defendant admits each and
28   every allegation contained therein.


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 1          16.     In response to paragraph 11f of the Complaint, the Defendant admits each and
 2   every allegation contained therein.
 3          17.     In response to paragraph 12 of the Complaint, the Defendant lacks sufficient
 4   information to either admit or deny the allegations therein and, on that basis, denies all allegations

 5   in paragraph 12.
 6          18.     In response to paragraph 13, the Defendant admits that, on May 22, 2014, David
 7   Howell and other entities, not including Components Exchange, Inc., executed a Commercial
 8   Security Agreement, and that a true and correct copy of the Commerical Security Agreement is
 9   attached as Exhibit 16 to the Complaint. The Defendant submits that the terms of the Commercial
10   Security Agreement speak for themselves and, on that basis, except as expressly admitted to

11   herein, denies the allegations set forth in paragraph 13 of the Complaint.
12          19.     In response to paragraph 14 of the Complaint, the Defendant admits each and every
13   allegation contained therein.
14          20.     In response to paragraph 15 of the Complaint, the Defendant lacks information
15   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
16   Paragraph 15 of the Complaint.

17          21.     In response to paragraph 16 of the Complaint, the Defendant admits that on
18   February 13, 2017, the Plaintiff’s counsel sent a letter to Ammo Load Worldwide, Inc., Big
19   Canyon Environmental, LLC, Clearwater Bullet, Inc., Freedom Munitions, LLC, Howell Machine,
20   Inc., Lewis-Clark Ammunition Components, LLC, Twin River Contract Loading, Inc., X-Treme
21   Bullets, Inc., Howell Munitions & Technology, Inc., Components Exchange, LLC, and David C.
22   Howell, and that a true and correct copy of such letter is attached as Exhibit 18 to the Complaint.

23   The Defendant submits that the letter speaks for itself and, on that basis, except as expressly
24   admitted to herein, denies the allegations set forth in paragraph 16 of the Complaint.
25          22.     In response to paragraph 17 of the Complaint, the Defendant lacks information
26   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
27   Paragraph 17 of the Complaint.
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 1          23.     In response to paragraph 18 of the Complaint, the Defendant lacks information
 2   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
 3   Paragraph 18 of the Complaint.
 4          24.     In response to paragraph 19 of the Complaint, the Defendant lacks information

 5   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
 6   Paragraph 19 of the Complaint.
 7          25.     In response to paragraph 20 of the Complaint, the Defendant lacks information
 8   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
 9   Paragraph 20 of the Complaint.
10          26.     In response to paragraph 21 of the Complaint, the Defendant lacks information

11   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
12   Paragraph 21 of the Complaint.
13          27.     In response to paragraph 22 of the Complaint, the Defendant admits each and every
14   allegation contained therein.
15          28.     In response to paragraph 23 of the Complaint, the Defendant lacks information
16   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in

17   Paragraph 23 of the Complaint.
18                                       FIRST CAUSE OF ACTION
19           (Determination of Nature, Extent, and Priority of Zions’ Interest in the Funds)
20          29.     In response to paragraph 24 of the Complaint, the Defendant lacks information
21   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
22   Paragraph 24 of the Complaint.

23          30.     In response to paragraph 25 of the Complaint, the Defendant lacks information
24   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
25   Paragraph 25 of the Complaint.
26          31.     In response to paragraph 26 of the Complaint, the Defendant lacks information
27   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
28   Paragraph 26 of the Complaint.


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 1                                     SECOND CAUSE OF ACTION
 2                                            (Declaratory Relief)
 3          32.     In response to paragraph 27 of the Complaint, the Defendant lacks information
 4   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in

 5   Paragraph 27 of the Complaint.
 6          33.     In response to paragraph 28 of the Complaint, the Defendant lacks information
 7   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
 8   Paragraph 28 of the Complaint.
 9          34.     In response to paragraph 29 of the Complaint, the Defendant lacks information
10   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in

11   Paragraph 29 of the Complaint.
12          35.     In response to paragraph 30 of the Complaint, the Defendant lacks information
13   sufficient to either admit or deny the allegations therein, and, on that basis, denies all allegations in
14   Paragraph 30 of the Complaint.
15                                       AFFIRMATIVE DEFENSES
16          In asserting the following affirmative defenses, the Defendant does not purport to shift to

17   the Defendant any burden of proof imposed upon the Plaintiff or assume the burden of proving any
18   element of any claim asserted by the Plaintiff. To the extent that any defense asserted below is not
19   considered to be a affirmative defense, but rather part of Plaintiff’s burden of proof or an element
20   which Plaintiff must prove, such matter shall remain a part of Plaintiff’s burden notwithstanding
21   any characterization herein which may indicate the contrary.
22                                         First Affirmative Defense

23          The Plaintiff lacks standing to assert the purported claims for relief stated in the
24   Complaint.
25                                       Second Affirmative Defense
26          The Plaintiff’s purported causes of action fail to state any claims for relief for which relief
27   may be granted.
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 1                                       Third Affirmative Defense
 2          The Plaintiff’s purported claims for relief are barred by the Plaintiff’s unclean hands.
 3                                      Fourth Affirmative Defense
 4          The Plaintiff has failed to join necessary and indispensable parties to this action.

 5                                       Fifth Affirmative Defense
 6          The Complaint is uncertain, vague, and ambiguous.
 7                                       Sixth Affirmative Defense
 8          The Plaintiff’s purported claims for relief have been waived, relinquished, and abandoned
 9   by the conduct and representations of the Plaintiff.
10                                      Seventh Affirmative Defense

11          As and for additional, separate and distinct affirmative defense to all causes of action,
12   except only for the Plaintiff’s allegations that the Funds are property of the Bankruptcy Estate,
13   that the Funds are not subject to the Tax Lien, and that the Notice of Levy was insufficient to
14   attach the Funds, the Defendant presently has insufficient knowledge or information upon which
15   to form a belief as to whether additional affirmative defenses exist. The Defendant reserves the
16   right to amend this Answer to assert additional affirmative defenses as warranted by discovery and

17   further investigation.
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 1                                         Prayer for Relief
 2         WHEREFORE, the Defendant prays as follows:
 3         1.    That Plaintiff takes nothing under the Complaint;
 4         2.    For attorneys’ fees and costs of suit herein; and

 5         3.    For such other and further relief as this Court may deem proper.
 6   DATED: October 12, 2018                    WINTHROP COUCHOT
                                                GOLUBOW HOLLANDER, LLP
 7
 8
                                                By:
 9                                                     Robert E. Opera
                                                       Andrew B. Levin
10                                              General Insolvency Counsel for
                                                Debtors and Debtors-in-Possession
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